
710 S.E.2d 40 (2011)
STATE of North Carolina
v.
Henry Ford ADKINS.
No. 55P02-10.
Supreme Court of North Carolina.
June 15, 2011.
Henry Ford Adkins, for Adkins, Henry Ford.
Derrick Mertz, Assistant Attorney General, for State of NC.
Philip E. Berger, Jr., District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 13th of April 2011 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 15th of June 2011."
